         Case 19-03888-hb             Doc 22       Filed 09/06/19 Entered 09/06/19 14:18:18                        Desc Main
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                                                 United States Bankruptcy Court
                                                    District of South Carolina


Case Number: 19−03888−hb                                           Chapter: 7

In re:
 Denise Jennings Wray


                                              ORDER CONCERNING DOCUMENT

To: Abigail Duffy

A document entitled Motion to Restrict Public Access/Redact was submitted to the Court on 08/06/2019. The party submitting
the document was notified that the document was deficient for the following reason(s):

       The filing fee has not been paid (28 U.S.C. § 1930 and the Appendix thereto).

       Submitted filing fee is not in the form of cash, certified check or money order.

       No signature either written or conformed (shown by "/s/ John Doe").

       Electronic event and image do not match. Explanation:

       The motion which should be noticed passively has not met all of the requirements of SC LBR 9013−4. Explanation:

       Filing not in accordance with official forms.

       Other; Motion does not comply with SC LBR 50054. See also SC LBR 90112(c ).

It appears that the party submitting the document was given notice to cure the above deficiency but has failed to do so within the
time specified. Due to the failure to cure the deficiency, no further action will be taken and no relief is granted with respect to the
referenced document.

AND IT IS SO ORDERED.


           FILED BY THE COURT
               09/06/2019




                                                                         US Bankruptcy Judge
                                                                         District of South Carolina



            Entered: 09/06/2019
